        Case 2:20-cr-00211-APG-DJA Document 38
                                            37 Filed 07/08/22
                                                     07/07/22 Page 1 of 4
                                                                        3
Prob12B
D/NV Form
Rev. June 2014



                                United States District Court
                                            for
                                  the District of Nevada

                         REQUEST FOR MODIFICATION
         TO CONDITIONS OF SUPERVISION WITH CONSENT OF OFFENDER
                  Probation Form 49 (Waiver of Hearing) is Attached
                                    July 1, 2022

Name of Offender: Bryan Graham

Case Number: 2:20CR00211

Name of Sentencing Judicial Officer: Honorable Andrew P. Gordon

Date of Original Sentence: May 10, 2022

Original Offense: Felon in Possession of a Firearm

Original Sentence: 60 Months probation

Date Supervision Commenced: May 10, 2022

Name of Assigned Judicial Officer: Honorable Andrew P. Gordon

                               PETITIONING THE COURT


‫ ܈‬To modify the conditions of supervision as follows:


         Substance Abuse Treatment – You must participate in an outpatient substance
         abuse treatment program and follow the rules and regulations of that program. The
         probation officer will supervise your participation in the program (provider,
         location, modality, duration, intensity, etc.).


                                          CAUSE

On June 16, 2022, Graham completed his mental health assessment. After the assessment, the
treatment provider advised that Graham did not need mental health counseling but instead
recommended he complete at least twelve (12) weeks of substance abuse group primarily due to
his recent positive drug test for marijuana.
        Case 2:20-cr-00211-APG-DJA Document 38
                                            37 Filed 07/08/22
                                                     07/07/22 Page 2 of 4
                                                                        3

                                  RE: Bryan Graham
Prob12B
D/NV Form
Rev. June 2014


On July 1, 2022, Graham reported to the probation office and signed a Probation Form 49
agreeing to add the substance abuse condition, which is attached for the Court’s review.




                                                   Respectfully submitted,
                                                                     Digitally signed
                                                                     by Cecil B
                                                                     McCarroll III
                                                                     Date: 2022.07.07
                                                   ______________________________
                                                                     12:35:30 -07'00'
                                                   Cecil McCarroll
                                                   United States Probation Officer

Approved:
                       Digitally signed by
                       Brian Blevins
                       Date: 2022.07.06
                       10:24:18 -07'00'
__________________________________________
Brian Blevins
Supervisory United States Probation Officer
        Case 2:20-cr-00211-APG-DJA Document 38
                                            37 Filed 07/08/22
                                                     07/07/22 Page 3 of 4
                                                                        3

                                         RE: Bryan Graham
Prob12B
D/NV Form
Rev. June 2014


THE COURT ORDERS


‫܆‬        No Action.

‫܆‬        The extension of supervision as noted above.

‫܆‬
x        The modification of conditions as noted above

‫܆‬        Other (please include Judicial Officer instructions below):

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                                                      _____________________________
                                                      Signature of Judicial Officer
                                                         July 8, 2022
                                                      _____________________________
                                                      Date
Case
 Case2:20-cr-00211-APG-DJA
      2:20-cr-00211-APG-DJA Document
                             Document37-1
                                      38 Filed
                                          Filed07/08/22
                                                07/07/22 Page
                                                          Page41ofof41
